Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 1 of 39 PageID #: 1048




                         IN THE UNITED STATE DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

   __________________________________________
   IN RE: COOK MEDICAL, INC. IVC FILTERS
   MARKETING, SALES PRACTICES AND                             Case No. 1:14-ml-2570-RLY-TAB
   PRODUCTS LIABILITY LITIGATION                              MDL No. 2570
   __________________________________________

   This Document Relates to All Actions
   __________________________________________


              MASTER CONSOLIDATED COMPLAINT FOR INDIVIDUAL CLAIMS


         Plaintiffs, by and through the Plaintiffs’ Steering Committee, hereby file this Master

   Consolidated Complaint for Individual Cases (“Master Complaint”), for incorporation and

   adoption by individual plaintiffs in the above captioned matter.

         This Master Complaint is submitted to serve the administrative functions of efficiency

   and economy and to present certain common claims and common questions of fact and law for

   appropriate action by or filed in this Court in the context of this Multidistrict proceeding. This

   Master Complaint does not constitute waiver or dismissal of said actions or the claims asserted

   therein.

                                         INTRODUCTION

         1.      This is an action for damages against COOK GROUP, INC., COOK MEDICAL

   INCORPORATED a/k/a COOK MEDICAL, INC., COOK MEDICAL, LLC, COOK

   INCORPORATED, MEDICAL ENGINEERING AND DEVELOPMENT INSTITUTE, INC.,

   COOK MEDICAL TECHNOLOGIES, COOK DENMARK INTERNATIONAL APS, COOK

   DENMARK HOLDING APS, COOK GROUP EUROPE APS, COOK NEDERLAND BV,

   WILLIAM COOK EUROPE APS, hereinafter collectively referred to as “Cook” and/or
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 2 of 39 PageID #: 1049




   “Defendants.” The allegations, claims and theories of recovery relate to the Defendants’ design,

   manufacture, sale, testing, marketing, labeling, advertising, promotion and/or distribution of its

   unsafe medical devices known as [Gunther Tulip Mreye, Gunther Tulip Vena Cava Filter, Cook

   Celect Vena Cava Filter, and Cook Celect Platinum] hereinafter “Cook IVC Filters” or “Cook’s

   IVC Filters.”

         2.        Cook IVC Filters are associated with, and cause, an increased risk for serious

   injury and death as a result of adverse events including: tilting, perforation, fracture, breakage

   and migration.

         3.        At all times relevant to this action, Cook intentionally, recklessly, and/or

   negligently failed to act as to the known failures and injuries associated with its devices and/or

   failed to warn about and concealed, suppressed, omitted, and/or misrepresented the risks,

   dangers, defects and disadvantages of its IVC Filters.

         4.        At all times relevant to this action, Cook intentionally, recklessly, and/or

   negligently advertised, labeled, promoted, marketed, sold and/or distributed its IVC Filters as a

   safe medical device when in fact Cook had reason to know, and/or did know, that its IVC Filters

   were not safe for its intended purposes, and that its IVC Filters caused serious injury and death.

         5.        At all times relevant to this action, Cook is and was strictly liable for injuries

   caused by its IVC Filters because the devices are unreasonably dangerous and not accompanied

   by adequate warnings about its danger.

                                    PARTIES & JURISDICTION

         6.        This Master Complaint has been filed in accordance with MDL #2570 and the

   transferee Court’s rules and policies. Accordingly, no specific plaintiff is identified herein but

   will be identified in the specific “Plaintiff’s Short Form Complaint”.




                                                   2
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 3 of 39 PageID #: 1050




         7.      The Master Complaint for Individual Claims may be adopted and incorporated by

   individual plaintiffs including injured individuals, personal representatives, spouses, etc. with

   claims for injuries and damage caused by Cook IVC Filters. Spousal claims include loss of

   consortium, companionship, and/or society. Plaintiffs included, where proper, are the lawful

   representatives of the estate of certain deceased victims.

         8.      As a direct and proximate result of having Defendants’ IVC Filters implanted in

   them, Plaintiffs named in their respective Short Form Complaints have suffered permanent and

   continuous injuries, pain and suffering, disability and impairment. Plaintiffs have suffered

   emotional trauma, harm and injuries that will continue into the future. Plaintiffs have lost their

   ability to live a normal life, and will continue to be so diminished into the future. Furthermore,

   Plaintiffs have lost earnings and will continue to lose earnings into the future and have medical

   bills both past and future related to care because of the IVC filters’ defects.

         9.      Defendant Cook Group, Incorporated is an Indiana Corporation with a principal

   place of business located at 750 Daniels Way, Bloomington, Indiana 47404. Defendant Cook

   Group, Incorporated regularly conducts business in the State of Illinois and Indiana, and is

   authorized to do so. Defendant Cook Group, Incorporated may be served with process upon its

   registered agent for service: C/O CSC Lawyers Incorporating Service, 50 West Broad Street,

   Suite 1800, Columbus, Ohio 43215.

         10.     Defendant Cook Group, Incorporated is the parent company of Defendant Cook

   Medical, Incorporated and is an Indiana Corporation with a principal place of business located

   at 750 Daniels Way, P.O. Box 489, Bloomington, Indiana 47402. Defendant Cook Group,

   Incorporated regularly conducts business in the State of Illinois and Indiana, and is authorized

   to do so. Defendant Cook Medical, Incorporated may be served with process upon its registered




                                                    3
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 4 of 39 PageID #: 1051




   agent for service: C/O CSC Lawyers Incorporating Service, 50 West Broad Street, Suite 1800,

   Columbus, Ohio 43215.

         11.     Defendant Cook Group, Inc. is the parent company of Defendant Cook Medical

   LLC and is an Indiana Corporation with a principal place of business located at 750 Daniels

   Way, P.O. Box 1608, Bloomington, Indiana 47402.          Defendant Cook Group Incorporated

   regularly conducts business in the State of Illinois and Indiana, and is authorized to do so.

   Defendant Cook Medical, LLC may be served with process upon its registered agent for

   service:    C/O CSC Lawyers Incorporating Service, 50 West Broad Street, Suite 1800,

   Columbus, Ohio 43215.

         12.     Defendant Cook Group, Inc. is the parent company of Defendant Cook

   Incorporated and is an Indiana Corporation with a principal place of business located at 750

   Daniels Way, P.O. Box 1608, Bloomington, Indiana 47402.               Defendant Cook Group

   Incorporated regularly conducts business in the State of Illinois and Indiana, and is authorized

   to do so. Defendant Cook Incorporated may be served with process upon its registered agent for

   service:    C/O CSC Lawyers Incorporating Service, 50 West Broad Street, Suite 1800,

   Columbus, Ohio 43215.

         13.     Defendant Cook Group, Inc. is the parent company of Defendant Medical

   Engineering and Development Institute, Inc. and is an Indiana Corporation with a principal

   place of business located at 750 Daniels Way, P.O. Box 1608, Bloomington, Indiana 47402.

   Defendant Cook Group Incorporated regularly conducts business in the State of Illinois and

   Indiana, and is authorized to do so. Defendant Medical Engineering and Development Institute,

   Inc. may be served with process upon its registered agent for service: C/O CSC Lawyers

   Incorporating Service, 50 West Broad Street, Suite 1800, Columbus, Ohio 43215.




                                                 4
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 5 of 39 PageID #: 1052




         14.     Defendant Cook Group, Inc. is the parent company of Defendant Cook Medical

   Technologies and is an Indiana Corporation with a principal place of business located at 750

   Daniels Way, P.O. Box 1608, Bloomington, Indiana 47402. Defendant Cook Group, Inc.

   regularly conducts business in the State of Illinois and Indiana, and is authorized to do so.

   Defendant Cook Medical Technologies may be served with process upon its registered agent for

   service: C/O CSC Lawyers Incorporating Service, 50 West Broad Street, Suite 1800, Columbus,

   Ohio 43215.

         15.     Defendant Cook Group, Inc. is the parent company of Defendant Cook Denmark

   International APS and is an Indiana Corporation with a principal place of business located at

   750 Daniels Way, P.O. Box 1608, Bloomington, Indiana 47402.            Defendant Cook Group

   Incorporated regularly conducts business in the State of Illinois and Indiana, and is authorized

   to do so. Defendant Cook Denmark International APS may be served with process upon its

   registered agent for service: C/O CSC Lawyers Incorporating Service, 50 West Broad Street,

   Suite 1800, Columbus, Ohio 43215.

         16.     Defendant Cook Group, Inc. is the parent company of Defendant Cook Denmark

   Holding APS and is an Indiana Corporation with a principal place of business located at 750

   Daniels Way, P.O. Box 1608, Bloomington, Indiana 47402.               Defendant Cook Group

   Incorporated regularly conducts business in the State of Illinois and Indiana, and is authorized

   to do so. Defendant Cook Denmark Holding APS may be served with process upon its

   registered agent for service: C/O CSC Lawyers Incorporating Service, 50 West Broad Street,

   Suite 1800, Columbus, Ohio 43215.

         17.     Defendant Cook Group, Inc. is the parent company of Defendant Cook Group

   Europe APS and is an Indiana Corporation with a principal place of business located at 750




                                                 5
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 6 of 39 PageID #: 1053




   Daniels Way, P.O. Box 1608, Bloomington, Indiana 47402.               Defendant Cook Group

   Incorporated regularly conducts business in the State of Illinois and Indiana, and is authorized

   to do so. Defendant Cook Group Europe APS may be served with process upon its registered

   agent for service: C/O CSC Lawyers Incorporating Service, 50 West Broad Street, Suite 1800,

   Columbus, Ohio 43215.

         18.     Defendant Cook Group, Inc. is the parent company of Defendant Cook Nederland

   BV and is an Indiana Corporation with a principal place of business located at 750 Daniels

   Way, P.O. Box 1608, Bloomington, Indiana 47402.          Defendant Cook Group Incorporated

   regularly conducts business in the State of Illinois and Indiana, and is authorized to do so.

   Defendant Cook Nederland BV may be served with process upon its registered agent for

   service:    C/O CSC Lawyers Incorporating Service, 50 West Broad Street, Suite 1800,

   Columbus, Ohio 43215.

         19.     Defendant William Cook Europe APS is based in Bjaeverskov, Denmark and

   regularly conducts business in the State of Illinois and Indiana, and is authorized to do so.

   Defendant William Cook Europe APS may be served with process upon its registered agent for

   service:    C/O CSC Lawyers Incorporating Service, 50 West Broad Street, Suite 1800,

   Columbus, Ohio 43215.

         20.     Defendants MED Institute, Inc. and Cook MED Institute, Inc., (MED = Medical

   Engineering and Development) are Indiana Corporations with principal places of business

   located at 1 Geddes Way, West Lafayette, Indiana 47906 and are subject to the jurisdiction of

   this Court. Defendants MED Institute, Inc. and Cook MED Institute, Inc., regularly conduct

   business in the United States to include the State of Georgia and are authorized to do so.

   Defendants MED Institute, Inc. and Cook MED Institute, Inc. may be served with process upon




                                                 6
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 7 of 39 PageID #: 1054




   their registered agent for service: C/O Corporation Service Company, 251 East Ohio Street,

   Suite 500, Indianapolis, IN 46204.

         21.     At all times alleged herein, the Cook defendants include any and all parent

   companies, subsidiaries, affiliates, divisions, franchises, partners, joint venturers, and

   organizational units of any kind, their predecessors, successors and assigns and their officers,

   directors, employees, agents, representatives and any and all other persons acting on their

   behalf.

         22.     Cook develops, manufactures, sells and distributes medical devices for use in

   various medical applications including endovascular cardiology, and surgical products

   throughout the United States and around the world. Cook’s products at issue in this matter

   include the Gunther Tulip Mreye, Gunther Tulip Vena Cava Filter, Cook Celect Vena Cava

   Filter, and the Cook Celect Platinum all of which are used for the prevention of recurrent

   pulmonary embolism via placement in the vena cava.

         23.     This Court has subject matter jurisdiction under 28 U.S.C. § 1332 because the

   Plaintiff and the Defendants are citizens of different states, and the amount in controversy

   exceeds seventy-five thousand dollars ($75,000.00), excluding interest and costs and there is

   complete diversity of citizenship between Plaintiff and Defendant.

         24.      The Court has personal jurisdiction over the Defendants under 28 U.S.C. §1391,

   as at least one of the Defendants reside in this District and all Defendants regularly conduct

   business in this State. The Defendants’ headquarters are located within the Bloomington,

   Indiana, said facility being within this judicial district, and the Defendants are subject to

   personal jurisdiction of this judicial district. Further, Defendants are present and doing business




                                                   7
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 8 of 39 PageID #: 1055




   within this state and have continuous and systematic contacts in every state in the United States

   of America, including Plaintiffs’ states of residence.

          25.     At all times relevant, Cook was engaged in the business of researching, designing,

   testing, developing, manufacturing, packaging, labeling, marketing, advertising, distributing,

   promoting, warranting and selling in interstate commerce, its IVC Filters either directly or

   indirectly through third parties or related entities.

          26.     The Defendants are subject to in personam jurisdiction in each state because of

   the activity conducted therein. Defendants’ activities in each state include: marketing,

   advertising, promoting, distributing, and receiving substantial compensation and profits from

   sales and other acts that caused or contributed to the harm giving rise to this action. Defendants

   also made or caused to be made material omissions and misrepresentations and breaches of

   warranties in Indiana and Plaintiffs’ states of residence.

                                                  VENUE

          27.     For purposes of remand and trial, venue is proper pursuant to 28 U.S.C. §1391 in

   the federal judicial district of each Plaintiff’s state of residence.

          28.     A substantial amount of activity giving rise to the claims occurred in this District,

   and Defendants may be found within this District. Therefore, venue is proper in this jurisdiction

   under 28 U.S.C. §1391.

                                      FACTUAL BACKGROUND

          29.     Defendants design, research, develop, manufacturer, test, market, advertise,

   promote, distribute, and sell products that are sold to and marketed to prevent, among other

   things, recurrent pulmonary embolism via placement in the vena cava. Defendants’ products




                                                      8
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 9 of 39 PageID #: 1056




   include, the Cook Celect Vena Cava Filter and the Gunther Tulip Filter (collectively referred to

   herein as “Cook Filters”), which are introduced via a coaxial introducer sheath system.

         30.     Defendants sought Food and Drug Administration (“FDA”) approval to market

   the Cook Filters and/or its components under Section 510(k) of the Medical Device

   Amendment.

         31.     Section 510(k) allows marketing of medical devices if the device is substantially

   equivalent to other legally marketed predicate devices without formal review for the safety or

   efficacy of the said device. The FDA explained the difference between the 510(k) process and

   the more rigorous “premarket approval” process in an amicus brief filed with the Third Circuit

   in Horn v. Thoratec Corp., 376 F.3d 163, 167 (3d Cir. 2004):

          A manufacturer can obtain an FDA finding of “substantial equivalence” by
          submitting a premarket notification to the agency in accordance with section
          510(k)…A device found to be ‘substantially equivalent’ to a predicate device is said
          to be “cleared” by FDA (as opposed to “approved” by the agency under a
          [premarket approval]). A pre-market notification submitted under 510(k) is thus
          entirely different from a [pre-market approval] which must include data sufficient to
          demonstrate that the device is safe and effective. (Emphasis in original).

         32.     In Medtronic, Inc. v. Lohr, 518 U.S. 470,478-79 (1996), the Supreme Court

   similarly described the 510(k) process, observing:

          If the FDA concludes on the basis of the [manufacturer’s] §510(k) notification that
          the device is ‘substantially equivalent’ to a pre-existing device, it can be marketed
          without further regulatory analysis…The §510(k) notification process is by no
          means comparable to the [premarket approval] process; in contract to the 1,200
          hours necessary to complete a PMA review, the §510(k) review is completed in
          average of 20 hours…Section §510(k) notification requires little information, rarely
          elicits a negative response from the FDA, and gets process quickly.

         33.     An IVC filter, like the Cook Filters, is a device designed to filter blood clots

   (called “thrombi”) that travel from the lower portions of the body to the heart and lungs. IVC




                                                  9
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 10 of 39 PageID #: 1057




    filters may be designed to be implanted, either temporarily or permanently, within the vena

    cava.

             34.   The inferior vena cava is a vein that returns blood to the heart from the lower

    portion of the body. In certain people, and for various reasons, thrombi travel from vessels in

    the legs and pelvis, through the vena cava into the lungs. Often these thrombi develop in the

    deep leg veins. The thrombi are called “deep vein thrombosis” or DVT. Once the thrombi reach

    the lungs they are considered “pulmonary emboli” or PE. An IVC filter, like the Cook IVC

    Filters, is designed to prevent thromboembolic events.

             35.   The Cook Filters are retrievable filters.

             36.   The Cook Celect® Vena Cava Filter has four (4) anchoring struts for fixation and

    eight (8) independent secondary struts to improve self-centering and clot trapping.

             37.   The Gunther Tulip® Vena Cava Filter has a top hook and (4) anchoring struts for

    fixation and on each strut, it has a “flower” formation that is shorter than the strut where a wire

    piece branches out on each side of the strut forming an overall “flower” type formation on each

    strut.

             38.   At all times relevant hereto, the Cook Filters were widely advertised and

    promoted by the Defendants as safe and effective treatment for prevention of recurrent

    pulmonary embolism via placement in the vena cava. At all times relevant hereto, Defendants

    knew its Cook Filters were defective and knew that defect was attributable to the design’s

    failure to withstand the normal anatomical and physiological loading cycles exerted in vivo.

             39.   A retrospective review of all Cook Gunther Tulip Filters and Cook Celect filters

    retrieved between July 2006 and February 2008 was performed. One hundred and thirty (130)

    filter retrievals were attempted but in 33 cases, the standard retrieval technique failed. The




                                                     10
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 11 of 39 PageID #: 1058




    authors concluded that “unsuccessful retrieval was due to significant endothelialization and

    caval penetration” and that “hook endothelialization is the main factor resulting in failed

    retrieval and continues to be a limitation with these filters.” O. Doody, et al.; “Assessment of

    Snared-Loop     Technique When        Standard    Retrieval    of   Inferior   Vena Cava Filters

    Fail” Cardiovasc Intervent Radiol (Sept 4, 2008 Technical Note).

          40.     A retrospective review of 115 patients who underwent Cook Celect IVC filter

    insertion between December 2005 and October 2007 was performed. While filter insertion was

    successful in all patients, the authors also concluded that “[f]ailed retrieval secondary to hook

    endothelialization continues to be an issue with this filter.” O. Doody, et al; Journal of Medical

    Imaging and Radiation Oncology “Initial Experience in 115 patients with the retrievable Cook

    Celect vena cava filter” 53 (2009) 64-68 (original article).

          41.     In a review of clinical data related to 73 patients who had Celect IVC filter

    implanted between August 2007 and June 2008, the authors found that the Celect IVC filter was

    related to a high incidence of caval filter leg penetration. Immediately after fluoroscopy-guided

    filter deployment in 61 patients, four filters (6.5%) showed significant tilt. Follow-up abdominal

    CT in 18 patients demonstrated filter related problems in 7 (39%), which included penetration

    of filter legs in 4 and fracture/migration of filter components in 1.

          42.     In a study of Gunther Tulip and Celect IVC filters implanted between July 2007

    and May of 2009 reported by Cardiovascular Interventional Radiology electronically on March

    30, 2011 and published by journal in April 2012, one hundred percent of the Cook Celect filters

    and Gunther Tulip filters imaged after 71 days of implant caused some degree of filter

    perforation of the venal caval wall. Durack JC, et al, Cardiovasc Intervent Radiol., “Perforation

    of the IVC: rule rather than the exception after longer indwelling times for the Gunther Tulip




                                                     11
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 12 of 39 PageID #: 1059




    and Celect Retrievable Filters,” 2012 Apr.; 35(2):299-308. Epub 2011 Mar 30. The authors

    concluded: "Although infrequently reported in the clinical literature, clinical sequelae from IVC

    filter components breaching the vena cava can be significant.” Defendants knew or should have

    known that their IVC filters were more likely than not to perforate the vena cava wall.

           43.     This same study reported that tilt was seen in 20 out of 50 (40%) of the implanted

    Gunther Tulip and Celect IVC filters and all titled filters also demonstrated vena caval

    perforation. Defendants knew or should have known that their IVC filters were more likely than

    not tilt and to perforate.

           44.     While not inclusive of all medical studies published during the relevant time

    period, the above references show that the Defendants failed to disclose to physicians, patients

    and/or Plaintiffs that its Cook Filters were subject to breakage, tilt, inability of removal, and

    migration even though they knew or should have known the same was true.

           45.     At all times relevant hereto, the Defendants continued to promote the Cook Filter

    as safe and effective even when inadequate clinical trials had been performed to support long or

    short to safety and/or efficacy.

           46.     The Defendants concealed the known risks and failed to warn of known or

    scientifically knowable dangers and risks associated with the Cook Filters, as aforesaid.

           47.     The Cook Filters are constructed of conichrome.

           48.     The Defendants specifically advertise the conichrome construction of the filter as

    a frame which “reduces the risk of fracture.”

           49.     The failure of the Cook Filters is attributable, in part, to the fact that the Cook

    Filters suffer from a design defect causing it to be unable to withstand the normal anatomical

    and physiological loading cycles exerted in vivo.




                                                    12
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 13 of 39 PageID #: 1060




            50.     At all times relevant hereto, the Defendants failed to provide sufficient warnings

    and instructions that would have put Plaintiffs and the general public on notice of the dangers

    and adverse effects caused by implantation of the Cook Filters, including, but not limited to the

    design’s failure to withstand the normal anatomical and physiological loading cycles exerted in

    vivo.

            51.     The Cook Filters were designed, manufactured, distributed, sold and/or supplied

    by the Defendants, and were marketed while defective due to the inadequate warnings,

    instructions, labeling, and/or inadequate testing in light of Defendants’ knowledge of the

    products’ failure and serious adverse events.

            52.     That at all times relevant hereto, the officers and/or directors of the Defendants

    named herein participated in, authorized and/or directed the production and promotion of the

    aforementioned products when they knew or should have known of the hazardous and

    dangerous propensities of the said products, and thereby actively participated in the tortious

    conduct that resulted in the injuries suffered by the Plaintiffs.

                  COUNT I: STRICT PRODUCTS LIABILITY – FAILURE TO WARN

            53.     Plaintiffs repeat and re-allege each and every allegation of this Master Complaint

    as if set forth in full in this cause of action.

            54.      Cook IVC Filters were defective and unreasonably dangerous when they left the

    possession of the Defendants in that they contained warnings insufficient to alert consumers,

    including Plaintiffs, of the dangerous risks associated with the subject product, including but not

    limited to the risk of tilting, perforation, fracture and migration which are associated with and

    did cause serious injury and/or death.




                                                       13
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 14 of 39 PageID #: 1061




           55.    Information provided by Cook to the medical community and to consumers

    concerning the safety and efficacy of its IVC Filters did not accurately reflect the serious and

    potentially fatal adverse events Plaintiffs could suffer.

           56.    At all times relevant hereto, the Cook IVC Filters were dangerous and presented a

    substantial danger to patients who were implanted with the Cook IVC Filters, and these risks

    and dangers were known or knowable at the times of distribution and implantation in Plaintiffs.

    Ordinary consumers would not have recognized the potential risks and dangers the Cook IVC

    Filters posed to patients, because their use was specifically promoted to improve health of such

    patients.

           57.     Had adequate warnings and instructions been provided, Plaintiffs would not have

    been implanted with Cook IVC Filters, and would not have been at risk of the harmful injuries

    described herein. The Defendants failed to provide warnings of such risks and dangers to the

    Plaintiffs and their medical providers as described herein. Neither Plaintiffs, nor Plaintiffs’

    physicians knew, nor could they have learned through the exercise of reasonable care, the risks

    of serious injury and/or death associated with and/or caused by Cooks’ IVC Filters.

           58.    Defendants knew or had knowledge that the warnings that were given failed to

    properly warn of the increased risks of serious injury and/or death associated with and/or caused

    by Cook IVC Filters.

           59.    Plaintiffs, individually and through their implanting physicians, reasonably relied

    upon the skill, superior knowledge and judgment of the Defendants.

           60.    Defendants had a continuing duty to warn Plaintiffs and their physicians of the

    dangers associated with the subject products.




                                                     14
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 15 of 39 PageID #: 1062




               61.    Safer alternatives were available that were effective and without risks posed by

    Cooks’ IVC Filters.

               62.    As a direct and proximate result of the Cook IVC Filters’ defects, as described

    herein, Plaintiffs suffered permanent and continuous injuries, pain and suffering, disability and

    impairment. Plaintiffs have suffered emotional trauma, harm and injuries that will continue into

    the future. Plaintiffs have lost their ability to live a normal life, and will continue to be so

    diminished into the future. Furthermore, Plaintiffs have lost earnings and will continue to lose

    earnings into the future and have medical bills, both past and future, related to care because of

    the Cook IVC Filters’ defects.

               63.    By reason of the foregoing, Defendants are liable to the Plaintiffs for damages as

    a result of their failure to warn and/or adequately warn the Plaintiffs and healthcare

    professionals about the increased risk of serious injury and death caused by their defective IVC

    filters.

               64.    WHEREFORE, Plaintiffs, demand judgment against the Cook Defendants and

    seek damages as detailed in the Global Prayer of Relief including: compensatory damages,

    exemplary damages, and punitive damages, together with interest, the costs of suit and

    attorneys’ fees, and such other an further relief as this Court deems just and proper.

                     COUNT II: STRICT PRODUCTS LIABILITY – DESIGN DEFECT

               65.    Plaintiffs repeat and re-allege each and every allegation of this Master Complaint

    as if set forth in full in this cause of action.

               66.    Defendants have a duty to provide adequate warnings and instructions for their

    products including their IVC Filters, to use reasonable care to design a product that is not

    unreasonably dangerous to users.




                                                       15
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 16 of 39 PageID #: 1063




          67.     At all times relevant to this action, Defendants designed, tested, manufactured,

    packaged, labeled, marketed, distributed, promoted and sold their IVC Filters, placing the

    devices into the stream of commerce.

          68.     At all times relevant to this action, Cook’s IVC Filters were designed, tested,

    inspected, manufactured, assembled, developed, labeled, sterilized, licensed, marketed,

    advertised, promoted, sold, packaged, supplied and/or distributed by Defendants in a condition

    that was defective and unreasonably dangerous to consumers, including Plaintiffs.

          69.     Cook IVC Filters are defective in their design and/or formulation in that they are

    not reasonably fit, suitable, or safe for its intended purpose and/or its foreseeable risks exceed

    the benefits associated with their design and formulation.

          70.     Cook IVC Filters were expected to reach, and did reach, users and/or consumers

    including Plaintiffs, without substantial change in the defective and unreasonably dangerous

    condition in which they were manufactured and sold.

          71.     Physicians implanted as instructed via the Instructions for Use and in a

    foreseeable manner as normally intended, recommended, promoted, and marketed by the

    Defendants. Plaintiffs received and utilized Cook IVC Filters in a foreseeable manner as

    normally intended recommend, promoted, and marketed by the Defendants.

          72.     Cook IVC Filters were and are unreasonably dangerous in that, as designed, failed

    to perform safely when used by ordinary consumers, including Plaintiffs, including when the

    filters were used as intended and in a reasonably foreseeable manner.

          73.     Cook IVC Filters were and are unreasonably dangerous and defective in design

    or formulation for their intended use in that, when they left the hands of the manufacturers

    and/or supplier, they posed a risk of serious vascular and other serious injury which could have




                                                   16
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 17 of 39 PageID #: 1064




    been reduced or avoided, inter alia, by the adoption of a feasible reasonable alternative design.

    There were safer alternative designs for the like products.

           74.       Cook IVC Filters were insufficiently tested and caused harmful adverse events

    that outweighed any potential utility.

           75.       Cook IVC Filters, as manufactured and supplied, were defective due to

    inadequate warnings, and/or inadequate clinical trials, testing, and study, and inadequate

    reporting regarding the results of the clinical trials, testing and study.

           76.       Cook IVC Filters, as manufactured and supplied, were defective due to its no

    longer being substantially equivalent to its predicate device with regard to safety and

    effectiveness.

           77.       Cook IVC Filters as manufactured and supplied by the Defendants are and were

    defective due to inadequate post-marketing warnings or instructions because, after Defendants

    knew or should have known of the risk of injuries from use and acquired additional knowledge

    and information confirming the defective and dangerous nature of its IVC Filters, Defendants

    failed to provide adequate warnings to the medical community and the consumers, to whom

    Defendants were directly marketing and advertising; and further, Defendants continued to

    affirmatively promote their IVC Filters as safe and effective and as safe and effective as their

    predicate device.

           78.       As a direct and proximate result of the Cook IVC Filters’ defects, as described

    herein, Plaintiffs have suffered permanent and continuous injuries, pain and suffering, disability

    and impairment. Plaintiffs have suffered emotional trauma, harm and injuries that will continue

    into the future. Plaintiffs have lost their ability to live a normal life, and will continue to be so

    diminished into the future. Furthermore, Plaintiffs have lost earnings and will continue to lose




                                                      17
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 18 of 39 PageID #: 1065




    earnings into the future and has medical bills both past and future related to care because of the

    IVC filter’s defect.

               79.   By reason of the foregoing, Defendants are liable to the Plaintiffs for damages as

    a result of their failure to warn and/or adequately warn the Plaintiffs and healthcare

    professionals about the increased risk of serious injury and death caused by their defective IVC

    filters.

               80.   WHEREFORE, Plaintiffs demand judgment against the Cook Defendants and

    seek damages as detailed in the Global Prayer of Relief including: compensatory damages,

    exemplary damages, and punitive damages, together with interest, the costs of suit and

    attorneys’ fees, and such other an further relief as this Court deems just and proper.

                                        COUNT III: NEGLIGENCE

               81.   Plaintiffs repeat and re-allege each and every allegation of this Master Complaint

    as if set forth in full in this cause of action.

               82.   At all times relevant to this cause of action, the Cook Defendants were in the

    business of designing, developing, manufacturing, marketing and selling sophisticated medical

    devices, including its Cook IVC Filters.

               83.   At all times relevant hereto, the Cook Defendants were under a duty to act

    reasonably to design, develop, manufacture, market and sell a product that did not present a risk

    of harm or injury to the Plaintiffs and to those people receiving their IVC Filters.

               84.   At the time of manufacture and sale of the Cook IVC Filters, the Cook

    Defendants knew or reasonably should have known the Cook IVC Filters:

                     a. were designed and manufactured in such a manner so as to present an
                        unreasonable risk of fracture of portions of the device, as aforesaid;




                                                       18
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 19 of 39 PageID #: 1066




                  b. were designed and manufactured so as to present an unreasonable risk of
                     migration of the device and/or portions of the device, as aforesaid;

                  c. were designed and manufactured to have unreasonable and insufficient
                     strength or structural integrity to withstand normal placement within the
                     human body; and/or

                  d. were designed and manufactured so as to present an unreasonable risk of
                     perforation and damage to the vena caval wall.

          85.     Despite the aforementioned duty on the part of the Cook Defendants, they

    committed one or more breaches of their duty of reasonable care and were negligent in:

                  a. unreasonably and carelessly failing to properly warn of the dangers and risks
                     of harm associated with the Cook IVC Filters, specifically its incidents
                     fracture, migration, perforation and other failure;

                  b. unreasonably and carelessly manufacturing a product that was insufficient in
                     strength or structural integrity to withstand the foreseeable use of normal
                     placement within the human body;

                  c. unreasonably and carelessly designed a product that was insufficient in
                     strength or structural integrity to withstand the foreseeable use of normal
                     placement within the human body; and

                  d. unreasonably and carelessly designed a product that presented a risk of harm
                     to the Plaintiffs and others similarly situated in that it was prone to fail.


          86.     As a direct and proximate result of the Cook IVC Filters’ defects, as described

    herein, Plaintiffs suffered permanent and continuous injuries, pain and suffering, disability and

    impairment. Plaintiffs have suffered emotional trauma, harm and injuries that will continue into

    the future. Plaintiffs have lost their ability to live a normal life, and will continue to be so

    diminished into the future. Furthermore, Plaintiffs have lost earnings and will continue to lose

    earnings into the future and has medical bills both past and future related to care because of the

    Cook IVC Filters’ defects.




                                                   19
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 20 of 39 PageID #: 1067




               87.    By reason of the foregoing, Defendants are liable to the Plaintiffs for damages as

    a result of their failure to warn and/or adequately warn the Plaintiffs and healthcare

    professionals about the increased risk of serious injury and death caused by their defective IVC

    filters.

               88.    WHEREFORE, Plaintiffs, demand judgment against the Cook Defendants and

    seek damages as detailed in the Global Prayer of Relief including: compensatory damages,

    exemplary damages, and punitive damages, together with interest, the costs of suit and

    attorneys’ fees, and such other an further relief as this Court deems just and proper; further,

                                    COUNT IV: NEGLIGENCE PER SE
               (Violation of 21 U.S.C. §§321, 331, 352 and 21 C.F.R. §§1.21, 801, 803, 807, 820)

               89.    Plaintiffs repeat and re-allege each and every allegation of this Master Complaint

    as if set forth in full in this cause of action.

               90.    At all times herein mentioned, Defendants had an obligation not to violate the

    law, including the Federal Food, Drug and Cosmetic Act and the applicable regulations, in the

    manufacture, design, testing, production, processing, assembling, inspection, research,

    promotion, advertising, distribution, marketing, promotion, labeling, packaging, preparation for

    use, consulting, sale, warning and post-sale warning and other communications of the risks and

    dangers of Cook IVC Filters.

               91.    By reason of its conduct as alleged herein, Cook violated provisions of statutes

    and regulations, including but not limited to, the following:

                      a. Defendants violated the Federal Food, Drug and Cosmetic Act, 21 U.S.C.

                         §§331 and 352, by misbranding its Cook IVC Filters;

                      b. Defendants violated the Federal Food, Drug and Cosmetic Act, 21 U.S.C. §§

                         321 in making statements and/or representations via word, design, device or


                                                       20
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 21 of 39 PageID #: 1068




                    any combination thereof failing to reveal material facts with respect to the

                    consequences that may result from the use of Cook IVC Filters to which the

                    labeling and advertising relates;

                c. Defendants violated the 21 C.F.R. §1.21 in misleading the consumers and

                    patients by concealing material facts in light of representations made

                    regarding safety and efficacy of its Cook IVC Filters;

                d. Defendants violated the 21 C.F.R. §801 in mislabeling its Cook IVF Filters as

                    to safety and effectiveness of its products and by failing to update its label to

                    reflect post-marketing evidence that Cook IVC Filters were associated with an

                    increased risk of injuries due to tilting, fracture, migration and perforation;

                e. Defendants violated the 21 C.F.R. §803 by not maintaining accurate medical

                    device reports regarding adverse events of tilting, fracture, migration and

                    perforation and/or misreporting these adverse events maintained via the

                    medical device reporting system;

                f. Defendants violated the 21 C.F.R. §807 by failing to notify the FDA and/or

                    the consuming public when its Cook IVC Filters were no longer substantially

                    equivalent with regard to safety and efficacy with regard to post-marketing

                    adverse events and safety signals; and

                g. Defendants violated the 21 C.F.R. §820 by failing to maintain adequate

                    quality systems regulation including, but not limited to, instituting effective

                    corrective and preventative actions,

         92.    WHEREFORE, Plaintiffs demand judgment against the Cook Defendants and

    seek damages as detailed in the Global Prayer of Relief including: compensatory damages,




                                                  21
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 22 of 39 PageID #: 1069




    exemplary damages, and punitive damages, together with interest, the costs of suit and

    attorneys’ fees, and such other an further relief as this Court deems just and proper; further,

                           COUNT V: BREACH OF EXPRESS WARRANTY

               93.   Plaintiffs repeat and re-allege each and every allegation of this Master Complaint

    as if set forth in full in this cause of action. Plaintiffs, though their medical providers, purchased

    Cook IVC Filters from the Cook Defendants.

               94.   At all times to this cause of action, the Cook Defendants were merchants of goods

    of the kind including medical devices and vena cava filters (i.e., Cook IVC Filters).

               95.   At the time and place of sale, distribution and supply of the Cook IVC Filters to

    Plaintiffs (and to other consumer and the medical community), the Defendants expressly

    represented and warranted in their marketing materials, both written and orally, and in the IFUs,

    that the Cook IVC Filters were safe, well-tolerated, efficacious, and fit for their intended

    purpose and were of marketable quality, that they did not produce any unwarned-of dangerous

    side effects, and that they were adequately tested.

               96.   At the time of Plaintiffs’ purchase from Defendants, the Cook IVC Filters were

    not in a merchantable condition and Defendants breached their expressed warranties, in that the

    filters:

                     a. were designed in such a manner so as to be prone to a unreasonably high

                        incident of fracture, perforation of vessels and organs, and/or migration;

                     b. were designed in such a manner so as to result in a unreasonably high incident

                        of injury to the organs of its purchaser; and




                                                      22
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 23 of 39 PageID #: 1070




                   c. were manufactured in such a manner so that the exterior surface of the Cook

                       Filters were inadequately, improperly and inappropriately designed causing

                       the device to weaken and fail.

           97.     As a direct and proximate result of the Cook IVC Filters’ defects, as described

    herein, Plaintiffs have suffered permanent and continuous injuries, pain and suffering,

    disability, and impairment. Plaintiffs have suffered emotional trauma, harm, and injuries that

    will continue into the future. Plaintiffs have lost their ability to live a normal life and will

    continue to be so diminished into the future. Furthermore, Plaintiffs have lost earnings and will

    continue to lose earnings into the future and have medical bills both past and future related to

    care because of the IVC filters’ defect.

           98.     By reason of the foregoing, Defendants are liable to the Plaintiffs for damages as

    a result of their breach express warranty.

           99.     WHEREFORE, Plaintiffs demand judgment against the Cook Defendants and

    seek damages as detailed in the Global Prayer of Relief including: compensatory damages,

    exemplary damages, and punitive damages, together with interest, the costs of suit and

    attorneys’ fees, and such other an further relief as this Court deems just and proper; further,

                          COUNT VI: BREACH OF IMPLIED WARRANTY

           100.    Plaintiffs repeat and re-allege each and every allegation of this Master Complaint

    as if set forth in full in this cause of action.

           101.    At all relevant and material times, Defendants manufactured, distributed,

    advertised, promoted, and sold its IVC Filters.

           102.    At all relevant times, the Defendants intended its IVC Filters be used in the

    manner that Plaintiffs in fact used them.




                                                       23
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 24 of 39 PageID #: 1071




          103.   Defendants impliedly warranted their IVC Filters to be of merchantable quality,

    safe and fit for the use for which the Defendants intended them and for which Plaintiffs in fact

    used them.

          104.   Defendants breached their implied warranties as follows:

                 a. Defendants failed to provide the warning or instruction and/or an adequate

                     warning or instruction which a manufacturer exercising reasonable care would

                     have provided concerning that risk, in light of the likelihood that its Cook IVC

                     Filters would cause harm;

                 b. Defendants manufactured and/or sold their Cook IVC Filters and said filters

                     did not conform to representations made by the Defendants when they left the

                     Defendants’ control;

                 c. Defendants manufactured and/or sold their Cook IVC Filters which were more

                     dangerous than an ordinary consumer would expect when used in an intended

                     or reasonably foreseeable manner, and the foreseeable risks associated with

                     the Cook Filters’ design or formulation exceeded the benefits associated with

                     that design. These defects existed at the time the products left the Defendants’

                     control; and

                 d. Defendants manufactured and/or sold their Cook IVC Filters when they

                     deviated in a material way from the design specifications, formulas or

                     performance standards or from otherwise identical units manufactured to the

                     same design specifications, formulas, or performance standards, and these

                     defects existed at the time the products left the Defendants’ control.




                                                  24
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 25 of 39 PageID #: 1072




          105.    Further, Defendants’ marketing of their Cook IVC Filters was false and/or

    misleading.

          106.    Plaintiffs, through their attending physicians, relied on these representations in

    determining which IVC filter to use for implantation in the Plaintiffs.

          107.    Defendants’ filters were unfit and unsafe for use by users as they posed an

    unreasonable and extreme risk of injury to persons using said products, and accordingly

    Defendants breached their expressed warranties and the implied warranties associated with the

    product.

          108.    The foregoing warranty breaches were a substantial factor in causing Plaintiffs’

    injuries and damages as alleged.

          109.    As a direct and proximate result of the Cook IVC Filters’ defects, as described

    herein, Plaintiffs have suffered permanent and continuous injuries, pain and suffering, disability

    and impairment. Plaintiffs have suffered emotional trauma, harm and injuries that will continue

    into the future. Plaintiffs have lost their ability to live a normal life and will continue to be so

    diminished into the future. Furthermore, Plaintiffs have lost earnings and will continue to lose

    earnings into the future and has medical bills both past and future related to care because of the

    IVC filters’ defects.

          110.    By reason of the foregoing, Defendants are liable to the Plaintiffs for damages as

    a result of its breaches of implied warranty.

          111.    WHEREFORE, Plaintiffs demand judgment against the Cook Defendants and

    seek damages as detailed in the Global Prayer of Relief including: compensatory damages,

    exemplary damages, and punitive damages, together with interest, the costs of suit and

    attorneys’ fees, and such other an further relief as this Court deems just and proper; further,




                                                    25
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 26 of 39 PageID #: 1073




          COUNT VII: VIOLATIONS OF APPLICABLE STATE LAW PROHIBITING
          CONSUMER FRAUD AND UNFAIR AND DECEPTIVE TRADE PRACTICES

           112.    Plaintiffs repeat and re-allege each and every allegation of this Master Complaint

    as if set forth in full in this cause of action.

           113.    Defendants had a statutory duty to refrain from unfair or deceptive acts or

    practices in the sale and promotion of Cook’s IVC Filters to Plaintiffs.

           114.    Defendants engaged in unfair, unconscionable, deceptive, fraudulent and

    misleading acts or practices in violation of all states’ consumer protection laws, identified

    below.

           115.    Through its false, untrue and misleading promotion of Cook’s IVC Filters,

    Defendants induced Plaintiffs to purchase and/or pay for the purchase of Cook’s IVC

    Filters.

           116.    Defendants misrepresented the alleged benefits and characteristics of Cook’s

    IVC Filters; suppressed, omitted, concealed, and failed to disclose material information

    concerning known adverse effects of Cook’s IVC Filters; misrepresented the quality and

    efficacy of Cook’s IVC Filters as compared to much lower-cost alternatives; misrepresented

    and advertised that Cook’s IVC Filters were of a particular standard, quality, or grade that

    they were not; misrepresented Cook’s IVC Filters in such a manner that later, on disclosure

    of the true facts, there was a likelihood that Plaintiffs would have opted for an alternative

    IVC Filter or method of preventing pulmonary emboli.

           117.    Defendants’ conduct created a likelihood of, and in fact caused, confusion and

    misunderstanding. Defendants’ conduct misled, deceived, and damaged Plaintiffs, and

    Defendants’ fraudulent, misleading, and deceptive conduct was perpetrated with an intent that

    Plaintiffs rely on said conduct by purchasing and/or paying for purchases of Cook’s IVC



                                                       26
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 27 of 39 PageID #: 1074




    Filters. Moreover, Defendants knowingly took advantage of Plaintiffs, who were reasonably

    unable to protect their interests due to ignorance of the harmful adverse effects of Cook’s IVC

    Filters.

           118.   Defendants’ conduct was willful, outrageous, immoral, unethical, oppressive,

    unscrupulous, unconscionable, and substantially injurious to Plaintiffs and offends the public

    conscience.

           119.   Plaintiffs purchased Cook’s IVC Filters primarily for personal, family, or

    household purposes.

           120.   As a result of Defendants’ violative conduct in each of the Plaintiffs’ respective

    states, Plaintiffs purchased and/or paid for purchases of Cook IVC Filters that were not made

    for resale.

           121.   Defendants engaged in unfair competition or deceptive acts or practices in

    violation of Alaska Stat. § 45.50.471, et seq.

           122.   Defendants engaged in unfair competition, or deceptive acts, or practices in

    violation of Ariz. Rev. Stat. § 44-1522, et seq.

           123.   Defendants engaged in unfair competition, or deceptive acts, or practices in

    violation of Ark. Code § 4-88-101, et seq.

           124.   Defendants engaged in unfair competition or deceptive acts or practices in

    violation of Cal. Civ. Code § 1770, et seq. (the “Consumer Legal Remedies Act”), and

    Cal. Bus. & Prof. Code § 17200 et seq. and § 17500 et seq.

           125.   Defendants engaged in unfair competition or deceptive acts or practices in

    violation of Colo. Rev. Stat. § 6-1-105 et seq.




                                                       27
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 28 of 39 PageID #: 1075




           126.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of Conn. Gen. Stat. § 42-110b, et seq.

           127.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of D.C. Code Ann. § 28-3901 et seq.

           128.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of 6 Del. Code Ann. § 2513, et seq.

           129.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of Fla. Stat. § 501.201, et seq.

           130.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of Haw. Rev. Stat. § 480, et seq.

           131.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of Idaho Code § 48-601, et seq.

           132.     Defendants engaged in unfair competition or deceptive acts or practices in

    violation of 815 Illinois L.C.S. §§ 505/2, 510/2 et seq.

           133.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of Ind. Code § 24-5-0.5 et seq.

           134.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of Kan. Stat. Ann. § 50-623 et seq.

           135.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of KRS § 367.170, et seq.

           136.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of 5 Me. Rev. Stat. Ann. § 207, et seq.




                                                    28
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 29 of 39 PageID #: 1076




          137.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of Md. Code, Commercial Law, § 13-301 et seq.

          138.      Defendants engaged in unfair competition or deceptive acts or practices in

    violation of Mass. Gen. Laws Ch. 93A § 1, et seq.

          139.    Defendants engaged in unfair competition or deceptive     acts   or   practices   in

    violation of M.C.L.A. § 445.901 et seq.

          140.    Defendants engaged in unfair competition or deceptive     acts   or   practices   in

    violation of M.S.A. § 325F.69, et seq. and M.S.A. § 325D.44 et seq.

          141.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of Miss. Code Ann. § 75-24-5.

          142.      Defendants engaged in unfair competition or deceptive acts or practices in

    violation of Missouri V.A.M.S. § 407.020, et seq.

          143.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of Neb. Rev. St. § 59-1602, et seq.

          144.    Defendant engaged in unfair competition or deceptive acts or practices in

    violation of Nev. Rev. Stat. §§ 41.600, 598.0903 et seq.

          145.    Defendants engaged in unfair competition or deceptive     acts   or   practices   in

    violation of N.H. Rev. Stat. § 358-A:1, et seq.

          146.      Defendants engaged in unfair competition or deceptive acts or practices in

    violation of N.J. Stat. Ann. § 56:8-1, et seq.

          147.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of N.M. Stat. § 57-12-1, et seq.




                                                      29
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 30 of 39 PageID #: 1077




          148.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of N.Y. Gen. Bus. Law § 349, et seq.

          149.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of N.C. Gen. Stat. Ann. § 75-1.1, et seq.

          150.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of N.D.C.C. § 51-15-02, et seq.

          151.    Defendants have engaged in unfair competition or deceptive acts or

    practices in violation of Ohio Rev. Code. Ann. § 1345.01, et seq.

          152.      Defendants engaged in unfair competition or deceptive act or practices in

    violation of 15 Okla. St. Ann § 751-573, et seq.

          153.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of Oregon Revised Statutes § 646.605 et seq.

          154.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of 73 Pa. Stat. § 201-1 et seq.

          155.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of R.I. Gen. Laws § 6-13.1-1, et seq.

          156.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of S.D. Code Laws § 37-24-1, et seq.

          157.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of Tenn. Code Ann. § 47-18-104, et seq.

          158.    Defendant engaged in unfair competition or deceptive acts or practices in

    violation of Tex. Bus. & Com. Code § 17.41 et seq.




                                                      30
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 31 of 39 PageID #: 1078




           159.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of Utah Code § 13-11-1, et seq.

           160.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of 9 Vt. Stat. § 2451, et seq.

           161.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of Va. Code § 59.1-200, et seq.

           162.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of Wash. Rev. Code § 19.86.010, et seq.

           163.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of W.Va. Code § 46A-6-101 et seq.

           164.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of Wis. Stat. § 100.18 et seq.

           165.    Defendants engaged in unfair competition or deceptive acts or practices in

    violation of Wy. Stat. § 40-12-101, et seq.

           166.    WHEREFORE, Plaintiffs demand judgment against the Cook Defendants and

    seek damages as detailed in the Global Prayer of Relief including: compensatory damages,

    exemplary damages, and punitive damages, together with interest, the costs of suit and

    attorneys’ fees, and such other an further relief as this Court deems just and proper; further,

                    COUNT VIII: LOSS OF CONSORTIUM (IF APPROPRIATE)

           167.    Plaintiffs repeat and re-allege each and every allegation of this Master Complaint

    as if set forth in full in this cause of action.




                                                       31
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 32 of 39 PageID #: 1079




           168.    At all times relevant hereto the Plaintiffs’ spouses (“Spouse Plaintiffs”)

    and/or family members (“Family Member Plaintiffs”) and/or domestic partners (“Domestic

    Partner Plaintiffs”) have suffered injuries and losses as a result of the Plaintiffs’ injuries.

           169.    For the reasons set forth herein, Spouse Plaintiffs and/or Family Member

    Plaintiffs and/or Domestic Partner Plaintiffs have necessarily paid and have become liable to

    pay for medical aid, treatment, and medications, and will necessarily incur further expenses

    of a similar nature in the future as a proximate result of the Defendants’ misconduct.

           170.    For the reasons set forth herein, Spouse Plaintiffs and/or Family Member

    Plaintiffs and/or Domestic Partner Plaintiffs have suffered and will continue to suffer the loss

    of their loved ones’ support, companionship, services, society, love, and affection.

           171.    For all Spouse Plaintiffs, Plaintiffs allege their marital relationship has been

    impaired and depreciated, and the marital association between husband and wife has been

    altered.

           172.     Spouse Plaintiffs and/or Family Member Plaintiffs and/or Domestic Partner

    Plaintiffs have suffered great emotional pain and mental anguish.

           173.    As a direct and proximate result of the Defendants’ misconduct, Spouse Plaintiffs

    and/or Family Member Plaintiffs and/or Domestic Partner Plaintiffs have sustained injuries and

    damages alleged herein and other damages to be proved at trial.

           174.    By reason of the foregoing, Defendants are liable to Spouse Plaintiffs and/or

    Family Member Plaintiffs and/or Domestic Partner Plaintiffs for damages as a result of

    Defendants’ misconduct.

           175.    WHEREFORE, Plaintiffs demand judgment against the Cook Defendants and

    seek damages as detailed in the Global Prayer of Relief including: compensatory damages,




                                                      32
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 33 of 39 PageID #: 1080




    exemplary damages, and punitive damages, together with interest, the costs of suit and

    attorneys’ fees, and such other an further relief as this Court deems just and proper.

                       COUNT IX: WRONGFUL DEATH (IF APPROPRIATE)

           176.    Plaintiffs repeat and re-allege each and every allegation of this Master Complaint

    as if set forth in full in this cause of action.

           177.    Decedent Plaintiffs died as a direct and proximate result of Defendants’

    misconduct as alleged herein resulting in Decedents’ use of Cook’s IVC Filters and are survived

    by various family members, named and unnamed.

           178.    As a direct and proximate result of the acts and/or omissions of Defendants,

    Decedent’s heirs and family have been deprived of his/her future aid, income, assistance,

    services, companionship, society, affection and financial support.

           179.    The representatives or administrators of Decedent Plaintiffs’ estates bring these

    claims on behalf of the Decedent Plaintiffs’ lawful heirs for Decedent’s wrongful death.

           180.    Decedent Plaintiffs’ estate representatives further plead all wrongful death

    damages allowed by statute and law in the states in which the causes of action have accrued.

                              COUNT X: SURVIVAL (IF APPROPRIATE)

           181.    Plaintiffs repeat and re-allege each and every allegation of this Master Complaint

    as if set forth in full in this cause of action.

           182.    As a direct and proximate result of Defendants’ misconduct as alleged herein

    Decedent Plaintiffs suffered bodily injury and resulting pain and suffering, disability,

    disfigurement, mental anguish, loss of enjoyment of life, medical expenses, loss of earnings,

    and loss of earning capacity prior to Decedent Plaintiffs’ deaths.




                                                       33
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 34 of 39 PageID #: 1081




           183.    The representatives or administrators of Decedent Plaintiffs’ estates bring this

    claim on behalf of Decedent Plaintiffs’ estate and Decedent Plaintiffs’ beneficiaries for

    damages.

           184.    The representatives or administrators of Decedent Plaintiffs’ estates are entitled to

    recover damages, to which Decedent would have been entitled and further plead all survival

    damages allowed by statute and law in the states in which the causes of action accrued.

                                   COUNT XI: PUNITIVE DAMAGES

           185.    Plaintiffs repeat and re-allege each and every allegation of this Master Complaint

    as if set forth in full in this cause of action.

           186.    At all times material hereto, Defendants knew or should have known that their

    Cook IVC Filters were inherently dangerous with respect to the risk of tilt, fracture, migration

    and/or perforation.

           187.    At all times material hereto, Defendants attempted to misrepresent and did

    knowingly misrepresent facts concerning the safety of their Cook IVC Filters.

           188.    Defendants’ misrepresentations included knowingly withholding material

    information from the medical community and the public, including Plaintiffs’ physicians,

    concerning the safety of their Cook IVC Filters. The Defendants’ conduct was willful, wanton,

    and undertaken with a conscious indifference to the consequences that consumers of their

    product faced, including Plaintiffs.

           189.    At all times material hereto, Defendants knew and recklessly disregarded the fact

    that their Cook IVC Filters have an unreasonably high rate of tilt, fracture, migration and/or

    perforation.




                                                       34
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 35 of 39 PageID #: 1082




           190.   Notwithstanding the foregoing, Defendants continued to market their Cook IVC

    Filters aggressively to consumers, including Plaintiffs, without disclosing the aforesaid side

    effects.

           191.   Defendants knew of their IVC Filters’ lack of warnings regarding the risk of

    fracture, migration, and/or perforation, but intentionally concealed and/or recklessly failed to

    disclose that risk and continued to market, distribute, and sell their Filters without said warnings

    so as to maximize sales and profits at the expense of the health and safety of the public,

    including Plaintiffs, in conscious disregard of the foreseeable harm caused by Cook’s IVC

    Filters.

           192.   Defendants’ intentional and/or reckless failure to disclose information deprived

    Plaintiffs’ physicians of necessary information to enable them to weigh the true risks of using

    Cook IVC Filters against their benefits.

           193.   As a direct and proximate result of Defendants’ willful, wanton, careless,

    reckless, conscious, and deliberate disregard for the safety and rights of consumers including

    Plaintiffs, they have suffered and will continue to suffer severe and permanent physical and

    emotional injuries, as described with particularity, above. Plaintiffs have endured and will

    continue to endure pain, suffering, and loss of enjoyment of life; and have suffered and will

    continue to suffer economic loss, including incurring significant expenses for medical care and

    treatment and lost wages.

           194.   Defendants’ aforesaid conduct was committed with knowing, conscious, careless,

    reckless, willful, wanton, and deliberate disregard for the safety and rights of consumers

    including Plaintiffs, thereby entitling Plaintiffs to punitive damages in an amount appropriate to

    punish Defendants and deter them from similar conduct in the future.




                                                    35
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 36 of 39 PageID #: 1083




                            TOLLING OF THE LIMITATIONS PERIOD

           195.    Defendants, through its affirmative misrepresentations and omissions, actively

    concealed from Plaintiffs and Plaintiffs’ healthcare providers the true and significant risks

    associated with Cook’s IVC Filters.

           196.    As a result of Defendants’ actions, Plaintiffs and their prescribing physicians

    were unaware, and could not have reasonably known or have learned through reasonable

    diligence, that Plaintiffs had been exposed to the risks identified in this Master Complaint, and

    that those risks were the result of Defendants’ acts, omissions, and misrepresentations.

           197.    Accordingly, no limitations period ought to accrue until such time as Plaintiffs

    knew or reasonably should have known of some causal connection between Plaintiffs being

    implanted with a Cook IVC Filter and the harm Plaintiffs suffered as a result.

           198.    Additionally, the accrual and running of any applicable statute of limitations have

    been tolled by reason of Defendants’ fraudulent concealment.

           199.    Additionally, Defendants are equitably estopped from asserting any limitations

    defense by virtue of their fraudulent concealment and other misconduct as described.

           200.     Additionally, the limitations period ought to be tolled under principles of

    equitable tolling.

                                      GLOBAL PRAYER FOR RELIEF

           WHEREFORE, the Plaintiffs demand judgment against the Cook Defendants as

    follows:


           A.      Compensatory damages, including without limitation past and future medical

    expenses; past and future pain and suffering; past and future emotional distress; past and future




                                                   36
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 37 of 39 PageID #: 1084




    loss of enjoyment of life; past and future lost wages and loss of earning capacity; funeral and

    burial expenses; and consequential damages;

          B.      Punitive damages in an amount sufficient to punish Defendants and set an

    example;

          C.      Disgorgement of profits;

          D.      Restitution;

          E.      Costs and fees of this action, including reasonable attorney’s fees;

          F.      Prejudgment interest and all other interest recoverable; and

          G.      Such other additional and further relief as Plaintiffs may be entitled to in law or

    in equity according to the claims pled herein.

                                    DEMAND FOR JURY TRIAL

          The Plaintiffs respectfully request trial by jury in the above case as to all issues.

                                                 Respectfully submitted,

                                                 COHEN & MALAD, LLP

                                                 /s/ Irwin B. Levin
                                                 Irwin B. Levin, IN Atty. No. 8786-49
                                                 COHEN & MALAD, LLP
                                                 One Indiana Square, #1400
                                                 Indianapolis, Indiana 46204
                                                 Telephone: (317) 636-6481
                                                 Facsimile: (317) 636-2593
                                                 ilevin@cohenandmalad.com

                                                 Lead Counsel for Plaintiffs




                                                     37
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 38 of 39 PageID #: 1085




                                    CERTIFICATE OF SERVICE

          I hereby certify that on January 30, 2015, a copy of the foregoing was served

   electronically and notice of the service of this document will be sent to all parties by operation of

   the Court’s electronic filing system to CM/ECF participants registered to receive service in this

   matter. Parties may access this filing through the Court’s system. A copy of the foregoing was

   also served via U.S. Mail to the following non-CM/ECF participants:

   Angela Spears                                         Cliff W. Marcek
   Rosen & Spears                                        Cliff W. Marcek, P.C.
   5075 Westheimer, Suite 760                            700 South Third Street
   Houston, TX 77056                                     Las Vegas, NV 89101

   Anthony James Urban                                   David J. Britton
   Law Offices of Anthony Urban, P.C.                    Law Offices of David J. Britton
   474 N. Centre Street, Third Floor                     2209 N. 30th Street, Suite 4
   Pottsville, PA 17901                                  Tacoma, WA 98403

   Bard K. Brian                                         Jay Harris
   222 Kentucky Avenue, Suite 10                         Harris, Reny & Torzewski
   Paducah, KY 42001                                     Two Maritime Plaze, 3rd Floor
                                                         Toledo, OH 43604
   Brian J. Urban
   Law Offices of Anthony Urban, P.C.                    Justin Kyle Brackett
   474 N. Centre Street, Third Floor                     Tim Moore, Attorney at Law, P.A.
   Pottsville, PA 17901                                  305 East King St.
                                                         Kings Mountain, NC 28086
   Charles Rene Houssiere, III
   Houssiere Durant & Houssiere, LLP                     Marian S. Rosen
   1990 Post Oak Blvd., Suite 800                        Rosen & Spears
   Houston, TX 77056-3812                                5075 Westheimer, Suite 760
                                                         Houston, TX 77056
   Corrie Johnson Yackulic
   Corrie Yackulic Law Firm PLLC                      Peter C. Wetherall
   315 5th Avenue South, Suite 1000                   Wetherall Group, Ltd.
   Seattle, WA 98104-2682                             9345 W. Sunset Road, Suite 100
                                                      Las Vegas, NV 89148
   George Jerre Duzane
   Duzane, Kooperman & Mondelli                       Thomas H. Terry, III
   603 Woodland Street                                619 Cahoon Road
   Nashville, TN 37206-4211                           Bay Village, OH 44140




                                                    38
Case 1:14-ml-02570-RLY-TAB Document 213 Filed 01/30/15 Page 39 of 39 PageID #: 1086




   Joseph A. Napiltonia                   Robert M. Hammers, Jr.
   Law Office of Joe Napiltonia           Jason T. Schneider, P.C.
   213 Third Avenue North                 611-D Peachtree Dunwoody Road
   Franklin, TN 37064                     Atlanta, GA 30328

   Lucas J. Foust                         W. Bryan Smith
   Foust Law Office                       Morgan & Morgan, LLC
   1043 Stoneridge Drive, Suite 2         2600 One Commerce Square
   Bozeman, MT 59718                      Memphis, TN 38103

   Wilnar J. Julmiste
   Anderson Glenn LLP – Coca Raton FL
   2201 NW Corporate Boulevard
   Suite 100
   Boca Raton, FL 33431

                                             /s/ Irwin B. Levin




                                        39
